                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                                CENTRAL DIVISION

STEVEN M. PRYE, by his next friend, OFFICE OF              )
     STATE GUARDIAN; BOB SCALETTY, by his )
     next friend REBBECCA LAKE WOOD; PATRICK )
     W. SHARP, by his next friend REBBECCA LAKE )
     WOOD; individually; and MISSOURI                      )
     PROTECTION AND ADVOCACY SERVICES, )
     INCORPORATED, a Missouri not-for-profit               )
     organization;                                         )
                                     Plaintiffs,           )
                                                           )
              v.                                           )   No. 2:04-cv-04248-ODS
                                                           )
MATT BLUNT, in his official capacity as Secretary of       )   First Amended Complaint for
     State of the State of Missouri; JEREMIAH W.           )   Declarative and Injunctive
     (JAY) NIXON, in his official capacity as Attorney )       Relief
     General of the State of Missouri; LEO G. (GARY) )
     STOFF, JR. and JAMES P. O’TOOLE, in their             )
     official capacities as directors of the Board of      )
     Election Commissioners for the City of St. Louis; )
     MICHAEL A. LUEKEN, in his capacity as                 )
     secretary and member of the Board of Election         )
     Commissioners for the City of St. Louis; DERIO L. )
     GAMBARO, in his capacity as chairperson of            )
     the Board of Election Commissioners for the City )
     of St. Louis; ANGELA DA SILVA and YVONNE )
     B. HUNTER, in their capacities as members of the )
     Board of Election Commissioners for the City          )
     of St. Louis; BOARD OF ELECTION                       )
     COMMISSIONERS FOR THE CITY                            )
     OF ST. LOUIS; SHARON TURNER BLUE and )
     RAY S. JAMES, in their official capacities as         )
     directors of the of the Board of Elections for Kansas )
     City; CHERYL LYNN BISBEE, in her capacity as )
     secretary and member of the Board of Elections for )
     Kansas City; LINDA S. TARPLEY, in her capacity )
     as chairperson of Board of Elections for Kansas       )
     City; ROSA JAMES and BRUCE B. WAUGH,                  )
     in their capacities as members of the Board of        )
     Elections for Kansas City; and BOARD OF               )
     ELECTION COMMISSIONERS FOR                            )
     KANSAS CITY;                                          )
                                     Defendants.           )




        Case 2:04-cv-04248-ODS Document 54 Filed 12/06/04 Page 1 of 19
                            INTRODUCTION
1.   The Missouri Constitution prohibits from voting any individual who has “a

     guardian of his or her estate or person by reason of mental incapacity[] appointed

     by a court of competent jurisdiction.” Mo. Const. Art. 8, § 2. By statute,

     Missouri restricts any person who has been “adjudged incapacitated” from

     registering to vote and from voting. V.A.M.S. 115.133.

2.   Plaintiff Missouri Protection and Advocacy Service, Incorporated (MOPAS),

     protects and advocates for Missouri residents with disabilities and brings these

     claims on behalf of individuals who are competent to vote and would be eligible

     to vote in Missouri but for the fact that they have been adjudged incapacitated.

3.   Plaintiffs Steven M. Prye (Prye), Bob Scaletty (Scaletty), and Patrick W. Sharp

     (Sharp) have been adjudged incapacitated and appointed a guardian; as a result

     they are prohibited from voting in Missouri. They would like to vote in future

     elections.

4.   Plaintiffs seek a judgment declaring that the prohibition on registering to vote and

     voting violates the Due Process Clause of the Fourteenth Amendment to the

     Constitution of the United States, the Equal Protection Clause of the Fourteenth

     Amendment to the Constitution of the United States, the Americans with

     Disabilities Act, and section 504 of the Rehabilitation Act of 1973. In addition,

     Prye further seeks judgment declaring that the prohibition on registering to vote or

     voting as applied to him violates the Full Faith and Credit Clause of the

     Constitution of the United States.




                             2
 Case 2:04-cv-04248-ODS Document 54 Filed 12/06/04 Page 2 of 19
5.   Plaintiffs seek a preliminary and permanent injunction enjoining Defendants from

     disenfranchising individuals who are competent to vote on the grounds that they

     have been appointed a guardian.

                       JURISDICTION AND VENUE

6.   This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

     §§1331, 1343(a)(4).

7.   Venue is proper in this Court under 28 U.S.C. §1391(b) and Local Rule 3.2(a)(2).

     The primary offices of Defendants Blunt and Nixon, from which they implement

     the challenged provisions of Missouri law, are located in Cole County.

                                   PARTIES

8.   Prye brings this action individually and by his next friend, Office of State

     Guardian, pursuant to Federal Rule of Civil Procedure 17(c). Prye has been

     diagnosed with a mental illness, adjudged incapacitated, and appointed a

     guardian. Prye is substantially limited in the major life activities of self-care,

     taking care of his personal needs (e.g., eating, dressing, bathing, hygiene,

     household chores, managing money), and interactions with others. The record of

     Prye’s substantial limitation in major life activities extends back at least three

     years.

9.   Scaletty brings this action individually and by his next friend, Rebbecca Lake

     Wood, pursuant to Federal Rule of Civil Procedure 17(c). Scaletty has been

     diagnosed with a mental illness, adjudged incapacitated, and appointed a

     guardian. Scaletty is substantially limited in major life activity of self care. He

     also has record of substantial limitation in self care.




                             3
 Case 2:04-cv-04248-ODS Document 54 Filed 12/06/04 Page 3 of 19
10.   Sharp brings this action individually and by his next friend, Rebbecca Lake

      Wood, pursuant to Federal Rule of Civil Procedure 17(c). He has been diagnosed

      with a mental illness, adjudged incapacitated, and appointed a guardian. Sharp is

      substantially limited in major life activity of self care. He also has record of

      substantial limitation in self care.

11.   MOPAS has its main office at 925 South Country Club Drive, Jefferson City,

      Missouri. MOPAS is a not-for-profit corporation duly organized under the laws

      of the State of Missouri and has been designated by the governor of the State of

      Missouri as the statewide protection and advocacy agency to protect and advocate

      for the legal and civil rights of those Missouri citizens who have mental

      disabilities pursuant to the Protection and Advocacy for Mentally Ill Individuals

      (PAIMI) Act, 42 U.S.C. § 10801, et seq., and the Developmental Disabilities

      Assistance and Bill of Rights Act (DD Act), 42 U.S.C. § 15001, et seq.; id. §

      15041, et seq.

12.   Pursuant to the PAIMI and DD Acts, as the designated statewide protection and

      advocacy agency for individuals with mental disabilities in the State of Missouri,

      MOPAS has the authority and the responsibility to pursue legal remedies or relief

      as might be necessary to protect and advocate for the rights of individuals with

      mental disabilities. 42 U.S.C. § 10801, et seq.

13.   MOPAS brings this action to protect and advocate for the rights and interests of

      Missouri citizens who have been adjudged incapacitated and who are individuals

      with “mental illness” or “developmental disabilities” as those terms are defined at

      42 U.S.C. §§ 10802 and 15002. These individuals are MOPAS’ constituents.




                             4
 Case 2:04-cv-04248-ODS Document 54 Filed 12/06/04 Page 4 of 19
14.   The MOPAS constituents on whose behalf this action brought have significant

      disabilities that substantially limit one or more major life activities. These

      constituents are, therefore, individuals with disabilities for the purposes of the

      Americans with Disabilities Act and the Rehabilitation Act.

15.   The MOPAS constituents on whose behalf this action is brought have each

      suffered, or will suffer, such injuries that would allow them to individually bring

      suit against defendants.

16.   Defendant Matt Blunt is the Secretary of State of the State of Missouri. As

      Secretary of State, Defendant Blunt is responsible for such duties in relation to

      elections as the law provides. Mo. Const. Art. 4, § 14. He is the state’s chief

      election official. See V.A.M.S. 28.035; V.A.M.S. 115.136. Defendant Blunt is

      also required to notify local election authorities of persons within their respective

      jurisdictions who have been adjudged incapacitated. V.A.M.S. 115.195(3).

      Defendant Blunt has the responsibility to oversee the administration of elections

      in Missouri. Defendant Blunt’s primary office is located in Jefferson, Missouri.

17.   Defendant Jeremiah W. (Jay) Nixon is the Attorney General of the State of

      Missouri. Defendant Nixon is charged with instituting proceedings to enforce

      Art. 8, § 2 of the Missouri Constitution and statutes that disenfranchise persons

      who have been adjudged incapacitated and appointed a guardian. See V.A.M.S.

      27.060. Defendant Nixon’s primary office is located in Jefferson City, Missouri.

18.   Defendants Leo G. (Gary) Stoff, Jr., and James P. O’Toole are directors of the

      Defendant Board of Election Commissioners for the City of St. Louis. Defendant

      Michael A. Lueken is secretary and a member of Defendant Board of Election




                             5
 Case 2:04-cv-04248-ODS Document 54 Filed 12/06/04 Page 5 of 19
      Commissioners for the City of St. Louis. Defendant Derio L. Gambaro is

      chairperson of Defendant Board of Election Commissioners for the City of St.

      Louis. Defendants Angela da Silva and Yvonne B. Hunter are members of

      Defendant Board of Election Commissioners for the City of St. Louis. Defendant

      Board of Election Commissioners for the City of St. Louis is the election

      authority for St. Louis City. V.A.M.S. 115.015.

19.   Defendants Sharon Turner Blue and Ray S. James are directors of the Defendant

      Board of Election Commissioners for Kansas City. Defendant Cheryl Lynn

      Bisbee is secretary and a member of the Defendant Board of Election

      Commissioners for Kansas City. Defendant Linda S. Tarpley is chairperson of

      the Defendant Board of Election Commissioners for Kansas City. Defendants

      Rosa James and Bruce B. Waugh are members of the Defendant Board of

      Election Commissioners for Kansas City. Defendant Board of Election

      Commissioner for Kansas City is the election authority for Kansas City.

20.   By statute, the election authority is required to supervise the registration of voters

      within its jurisdiction and insure persons are qualified to register. V.A.M.S.

      115.141.

               MISSOURI CONSTITUTION AND STATUTES

21.   The Missouri Constitution states, inter alia., “[N]o person who has a guardian of

      his or her estate or person by reason of mental incapacity[] appointed by a court

      of competent jurisdiction … shall be entitled to vote.” Mo. Const. Art. 8, § 2.

22.   By statute, the State of Missouri prohibits any persons who have been adjudged

      incapacitated by a court from registering to vote or voting. V.A.M.S. 115.133.




                             6
 Case 2:04-cv-04248-ODS Document 54 Filed 12/06/04 Page 6 of 19
23.   Persons under guardianship, and persons who assist them, may be subject to

      criminal charges for casting or encouraging an illegal vote. V.A.M.S. 115.175;

      V.A.M.S. 115.631. A class one election offense is a felony punishable “by

      imprisonment of not more than five years or by fine of not less than two thousand

      five hundred dollars but not more than ten thousand dollars or by both such

      imprisonment and fine[.]” V.A.M.S. 115.631. What is more, the State of

      Missouri permanently declares persons convicted of a misdemeanor or felony

      related to the right of suffrage ineligible to register to vote or vote. V.A.M.S.

      115.133(3).

                                     FACTS

24.   Prye was born on November 13, 1952, in Memphis, Tennessee. He was one of

      the first black students to attend Central High School, the city’s best high school,

      during desegregation. He was at school on April 4, 1968 when—about a mile

      away-- Martin Luther King, Jr., was killed at the Lorraine Motel. Other students

      and some teachers celebrated. This event, amongst others, convinced Prye that he

      would do whatever it took to overcome disadvantage and discrimination. Upon

      graduating from high school, Prye received a scholarship from Yale University

      and completed his undergraduate studies in New Haven. After college Prye

      attended law school at Harvard, where he was on the staff of the Public Law

      Review. Prye began his legal career by working for two firms in New York

      City. He sometimes taught legal writing courses at New York University, and he

      was awarded an L.L.M. in taxation by N.Y.U. Prye left New York City because

      he wanted to teach fulltime. He taught several years at the Vermont Law School,




                             7
 Case 2:04-cv-04248-ODS Document 54 Filed 12/06/04 Page 7 of 19
      then at the University of Illinois School of Law. During several of these years,

      Prye wrote a regular column in the Memphis newspaper on estate planning and

      related issues, including guardianship. It was at the University of Illinois and

      around age 49 that Prye’s condition deteriorated. He is now diagnosed with

      schizoaffective disorder. On December 12, 2003, Office of State Guardian was

      appointed as guardian of Prye’s person by the Circuit Court of Sangamon County,

      Illinois. The same Court appointed Office of State Guardian as guardian of Prye’s

      estate on March 11, 2004. Since April 2004, Prye has resided in St. Louis,

      Missouri. There is currently pending a petition for appointment of a guardian in

      the Missouri Circuit Court, Twenty-second Judicial Circuit, Probate Division, in

      St. Louis.

25.   The Circuit Court of Sangamon County, Illinois, appointed a guardian without

      limitation and did not consider Prye’s competence to vote. Illinois law does not

      disenfranchise Illinois residents simply because they have been appointed a

      guardian. 10 ILCS 5/3-1 (qualifications to vote in Illinois); see Miller v. State

      Board of Elections, 1989 WL 36212 (N.D.Ill. 1989) (discussion of fact that

      mental incapacity is not a disqualification for voting under Illinois law). On

      October 28, 2004, the Court found that it did not have jurisdiction to limit Prye’s

      guardianship so as to reserve to Prye the right to vote since its appointment of a

      guardian had not stripped him of the right in the first instance.

26.   The Circuit Court in St. Louis, in considering the case pending before it, is not

      authorized by Missouri law to consider Prye’s capacity to vote or to reserve to

      him the right to vote in the event a guardian is appointed. It is likely the Court




                             8
 Case 2:04-cv-04248-ODS Document 54 Filed 12/06/04 Page 8 of 19
      will adjudge Prye incapacitated and appoint a guardian if it finds Prye is a person

      who is unable by reason of any physical or mental condition to receive and

      evaluate information or to communicate decisions to such an extent that he lacks

      capacity to meet essential requirements for food, clothing, shelter, safety, or other

      care such that serious physical injury, illness, or disease is likely to occur. See

      V.A.M.S. 475.010, et seq. The determinations the Court is required to make have

      no bearing on or relation to the capacity to vote. Indeed, the Court ruled evidence

      of Prye’s capacity for voting was irrelevant when it was offered at his

      guardianship hearing.

27.   Prye is interested in politics. He has regularly voted in the past. He understands

      the nature of the political process and is competent to vote. He only learned that

      he was ineligible to vote in Missouri when he recently sought to register to vote.

28.   On September 24, 2004, Prye attempted to register to vote in the State of Missouri

      by completing a Missouri Voter Registration Application. In order to make his

      application truthful, Prye struck the assertion contained on the form application

      that he had not been adjudged incapacitated. Defendant Stoff, on behalf of

      Defendant St. Louis Board of Election Commissioners, denied Prye’s application

      on the sole basis that Prye had been adjudged mentally incapacitated.

29.   Scaletty is 54 years old and is under guardianship. He is diagnosed with paranoid

      schizophrenia. He voted consistently until the November 2, 2004 election. He

      did not vote in the 2004 general election because on or about September 7, 2004,

      he received a letter from the Defendant Board of Election Commissions for

      Kansas City telling him that he was ineligible to vote based on his guardianship




                             9
 Case 2:04-cv-04248-ODS Document 54 Filed 12/06/04 Page 9 of 19
      status. For about 20 years, Scaletty worked as a construction electrician. He used

      to fly airplanes as a hobby.

30.   Scaletty believes voting is important because it is the height of democracy and

      provides him a chance to voice his opinions. He understands the nature and

      purpose of elections.

31.   Sharp is 41 years old. He has been diagnosed with schizophrenia and is under

      guardianship. He has lived in Kansas City since 1989. Sharp voted in the 2000

      presidential election and regularly in prior elections. He did not vote in the

      November 2, 2004, general election because he had heard from other residents at

      the assisted-living facility where he resides that persons under guardianship could

      not vote and that it would be a crime to try to vote.

32.   Sharp wants to vote so that he can voice his choices on key issues. He likes to

      hear what the candidates have to say and look at all sides of issues. He

      understands the nature and purpose of elections.

33.   Plaintiffs meet all of the qualifications to vote in the State of Missouri except that

      they have been adjudged incapacitated and appointed guardians. Mo. Const. Art.

      8, § 2; V.A.M.S. 115.133. The sole reason they are ineligible to register to vote

      and vote in Missouri is that they is under guardianship.

34.   Plaintiffs were denied the right to vote in the November 2, 2004, general election.

35.   As Missouri’s designated protection and advocacy system for individuals with

      mental disabilities, MOPAS represents individuals who, like the individual

      plaintiffs, have guardians appointed for them because of their mental disabilities.




                            10
Case 2:04-cv-04248-ODS Document 54 Filed 12/06/04 Page 10 of 19
36.   MOPAS expends time, money, and other resources on behalf of individuals with

      mental disabilities to address their disenfranchisement and to protect their rights.

37.   Many MOPAS constituents who are under guardianship are competent to vote but

      are prohibited from voting based on the challenged statutory and constitutional

      provisions.

                                    COUNT I
                         Violation of Due Process Clause
38.   Plaintiffs repeat and re-allege each and every allegation in paragraphs 1 through

      37 as if fully incorporated herein.

39.   The Missouri Constitution and statutes deny Plaintiffs due process in violation of

      the Fourteenth Amendment to the Constitution of the United States by

      disenfranchising them without a process that requires proof that they lack the

      capacity to vote.

40.   Missouri’s guardianship statutes do not provide due process because they provide

      neither notice nor the opportunity to be heard on the issue of voting. Any notice

      or opportunity to be heard that might be provided to some persons is without

      uniform standards, is arbitrary, and varies widely throughout the state. Further,

      Missouri deprives its residents of the right to vote based on guardianship

      proceedings of other states without regard for whether those states’ guardianship

      proceedings consider the individual’s capacity to vote.

41.   Because the right to vote is a fundamental right and, thus, a fundamental liberty

      interest, the burden of proving that it should be taken away must rest with the

      state. Even if an individual could return to probate court to seek to have the right




                            11
Case 2:04-cv-04248-ODS Document 54 Filed 12/06/04 Page 11 of 19
      to vote restored, the burden of proof would be inappropriately placed on the

      individual.

42.   Because the fundamental right to vote is implicated, the Missouri Constitution and

      statutes that disenfranchise individuals who have been appointed a guardian

      should be reviewed under the strict scrutiny standard.

43.   Plaintiffs are entitled to injunctive and declaratory relief because they are injured

      by Defendants’ acts and omissions that deprive them of the right to vote in

      violation of the Due Process Clause of the Fourteenth Amendment. Their claim is

      brought pursuant to 42 U.S.C. § 1983.

                                    COUNT II
                      Violation of Equal Protection Clause
45.   Plaintiffs repeat and re-allege each and every allegation in paragraphs 1 through

      37 as if fully incorporated herein.

46.   The Equal Protection Clause of the Fourteenth Amendment provides, “[N]o state

      shall deny to any person within its jurisdiction the equal protection of the laws.”

      U.S. Const., amend. XIV.

47.   Plaintiffs are similarly situated to individuals who have the capacity to vote but

      who have not been appointed a guardian. Because they have not been appointed a

      guardian, the individuals in the latter class retain the fundamental right to vote.

48.   Defendants, by their acts and omissions under color of state law, are depriving

      Plaintiffs of rights secured by the Equal Protection Clause of the Fourteenth

      Amendment to the Constitution of the United States by disenfranchising them on

      the ground that they are under guardianship.




                            12
Case 2:04-cv-04248-ODS Document 54 Filed 12/06/04 Page 12 of 19
49.   Voting is a fundamental right, yet Mo. Const. Art. 8, § 2 and the Missouri statues

      that disenfranchise Plaintiffs are not narrowly tailored to achieve a compelling

      state interest.

50.   Plaintiffs are entitled to injunctive and declaratory relief because being denied the

      right to vote in violation of the Equal Protection Clause of the Fourteenth

      Amendment injures them. Their claim is brought pursuant to 42 U.S.C. § 1983.

                                       COUNT III
                        Violation of Full Faith and Credit Clause
51.   Plaintiffs repeat and re-allege each and every allegation in paragraphs 1 through

      8, 16-18, 20-28, and 33-34 as if fully incorporated herein.

52.   The Full Faith and Credit Clause of the Constitution provides,

              Full Faith and Credit shall be given in each State to the public Acts,

              Records, and judicial Proceedings of every other State. And the Congress

              may be general Laws prescribe the Manner in which such Acts, Records

              and Proceedings shall be proved, and the Effect thereof. U.S. Const., Art.

              IV, § 1.

53.   The judgments of the Illinois state court finding Prye to be in need of a guardian

      and appointing a guardian qualify for recognition in the State of Missouri.

54.   By applying Missouri Const., Art. 8, § 2, and V.A.M.S. 115.113 to Prye on the

      sole basis of the judgment of the Illinois Court that did not restrict his right to

      vote, Defendants disenfranchised him in a manner that violates the Full Faith and

      Credit Clause of the Constitution of the United States.




                            13
Case 2:04-cv-04248-ODS Document 54 Filed 12/06/04 Page 13 of 19
55.   Prye is entitled to declaratory and injunctive relief because being denied the right

      to register to vote and to vote in a manner that violates the Full Faith and Credit

      Clause injured him. His claim is brought pursuant to 28 U.S.C. § 1738.

                                       COUNT IV
                      Violation of Americans with Disabilities Act
56.   Plaintiffs repeat and re-allege each and every allegation in paragraphs 1 through

      37 as if fully incorporated herein.

57.   Subtitle A of Title II of the Americans with Disabilities Act (ADA) prohibits

      public entities from discriminating against persons with disabilities in their

      programs, services, and activities. 42 U.S.C. §§ 12131-12134. Regulations

      implementing subtitle A are codified at 28 C.F.R. part 35.

58.   Title II’s definition of “public entity” includes any state or local government or

      “any department, agency … or other instrumentality” of a state or local

      government. 42 U.S.C. § 12131(1)(A), (B).

59.   Defendants are responsible for the operation of public entities for the purposes of

      Title II.

60.   Plaintiffs have a disability within the meaning of 42 U.S.C. § 12102(2) and 28

      C.F.R. § 35.104.

61.   Plaintiffs are “qualified individual[s] with a disability” within the meaning of 42

      U.S.C. § 12131(2) and 28 C.F.R. § 35.104 because they meet all voting eligibility

      requirements other than the requirement that they not be under guardianship.

62.   The State of Missouri is a “public entity” within the meaning of 42 U.S.C. §

      12131(1)(A) and 28 C.F.R. § 35.104.

63.   Defendants subject Plaintiffs to discrimination by excluding them from voting in




                            14
Case 2:04-cv-04248-ODS Document 54 Filed 12/06/04 Page 14 of 19
      federal, state, and local elections. The exclusion and discrimination violate 42

      U.S.C. § 12132, which states:

             Subject to the provisions of this subchapter, no qualified individual with a

             disability shall, by reason of such disability, be excluded from

             participation in or be denied the benefits of the services, programs, or

             activities of a public entity, or be subjected to discrimination by any such

             entity.

64.   Defendants are violating the regulations promulgated under the ADA in the

      following respects:

      a. Defendants, on the basis of Plaintiffs’ disabilities, exclude them from

         participation in federal, state, and local elections, thereby subjecting him to

         discrimination. See 28 C.F.R. 35.130(a) (“No qualified individual with a

         disability shall, on the basis of disability, be excluded from participation in or

         be denied the benefits of the services, programs, or activities of a public

         entity, or be subjected to discrimination by any public entity.”).

      b. Defendants, on the basis of Plaintiffs’ disabilities, deny them the opportunity

         to participate in or benefit from their services, programs, and activities, to wit:

         voter registration and voting. See 28 C.F.R. 35.130(b)(1)(i)(“A public entity,

         in providing any aid, benefit, or service, may not, directly or through

         contractual, licensing, or other arrangements, on the basis of disability[,]

         [d]eny a qualified individual with a disability the opportunity to participate in

         or benefit from the aid, benefit, or service[.]”).




                            15
Case 2:04-cv-04248-ODS Document 54 Filed 12/06/04 Page 15 of 19
      c. Defendants, on the basis of Plaintiffs’ disabilities, limit them in the enjoyment

          of their right to vote. See 28 C.F.R. 35.130(b)(1)(vii)(“A public entity, in

          providing any aid, benefit, or service, may not, directly or through contractual,

          licensing, or other arrangements, on the basis of disability[,] [o]therwise limit

          a qualified individual with a disability in the enjoyment of any right, privilege,

          advantage, or opportunity enjoyed by others receiving the aid, benefit, or

          service.”).

      d. Defendants utilize criteria for eligibility to register to vote and to vote that

          have the effect of subjecting Plaintiffs to discrimination on the basis of

          disability. See 38 C.F.R. 35.130(b)(3)(i) (“A public entity may not, directly or

          through contractual or other arrangements, utilize criteria or methods of

          administration [t]hat have the effect of subjecting qualified individuals with

          disabilities to discrimination on the basis of disability[.]”).

      e. Defendants impose eligibility criteria for voting that screen out or tend to

          screen out individuals with disabilities, including Prye, Scaletty, and Sharp,

          from fully and equally enjoying voting and elections even though the criteria

          are not necessary for voting and elections in Missouri. See 28 C.F.R.

          35.130(b)(8) (“A public entity shall not impose or apply eligibility criteria that

          screen out or tend to screen out an individual with a disability or any class of

          individuals with disabilities from fully and equally enjoying any service,

          program, or activity, unless such criteria can be shown to be necessary for the

          provision of the service, program, or activity being offered.”).

65.   As a result of Defendants’ violations of the ADA and its implementing




                            16
Case 2:04-cv-04248-ODS Document 54 Filed 12/06/04 Page 16 of 19
      regulations, Defendants are liable to Plaintiffs for injunctive and declaratory relief

      pursuant to 42 U.S.C. § 12133.

                                        COUNT V
                   Violation of §504 of the Rehabilitation Act of 1973
66.   Plaintiffs repeat and re-allege each and every allegation in paragraphs 1 through

      37 as if fully incorporated herein.

67.   Section 504 of the Rehabilitation Act of 1973, 29 U.S.C. § 794 (Section 504),

      provides, inter alia.,

                No otherwise qualified individual with a disability in the United States …

                shall, solely by reason of her or his disability, be excluded from the

                participation in, be denied the benefits of, or be subjected to

                discrimination under any program or activity receiving Federal financial

                assistance or under any program or activity conducted by any Executive

                agency…

68.   Plaintiffs are “qualified individual[s] with a disability” as defined by 29 U.S.C.

      §705(20).

69.   Plaintiffs meet all of the qualifications to vote in the State of Missouri except for

      that he has been adjudged incapacitated and appointed a guardian.

70.   Defendants receive federal assistance for the purposes of Section 504. 29 U.S.C. §

      794(a).

71.   Defendants discriminate against Plaintiffs by not allowing them to register to vote

      or to vote although registering to vote and voting fit within the definition of

      “program or activity” provided by section 504. 29 U.S.C. § 794(b)(1)(A).

72.   As a result of Defendants’ violations of § 504 of the Rehabilitation Act of 1973,




                            17
Case 2:04-cv-04248-ODS Document 54 Filed 12/06/04 Page 17 of 19
             Defendants are liable to Plaintiffs for injunctive and declaratory relief pursuant to

             29 U.S.C. §794a.

                                                 RELIEF

             Plaintiffs request judgment in their favor and the following relief:

                    A.      A preliminary and permanent injunction requiring Defendants to

                            permit Prye, Scaletty, Sharp, and others similarly situated to

                            register to vote, to allow Plaintiffs to vote in future elections, to

                            give notice to persons under guardianship that they can register to

                            vote, and to require notice and the opportunity to be heard before

                            the right to vote may be lost in future guardianship proceedings;

                    B.      A declaratory judgment holding that the Missouri Constitution and

                            statutes that disenfranchise Plaintiffs on the ground that they are

                            under guardianship or have been adjudged incapacitated are invalid

                            because they violate the Due Process Clause of the Fourteenth

                            Amendment, the Equal Protection Clause of the Fourteenth

                            Amendment, the Full Faith and Credit Clause of the Constitution,

                            the Americans with Disabilities Act, and Section 504 of the

                            Rehabilitation Act of 1973;

                    C.      Costs and reasonable attorneys fees under 42 U.S.C. §§ 1988,

                            12133, 12205; 29 U.S.C. § 791, et seq., and other relevant

                            provisions of law;

                    D.      Such other and further relief as this Court deems just and proper.

Dated: December 6, 2004.




                                   18
       Case 2:04-cv-04248-ODS Document 54 Filed 12/06/04 Page 18 of 19
                      /s/ Anthony E. Rothert
                      Anthony E. Rothert, #44827
                      Jeff M. Plesko
                      John Wank
                      GUARDIANSHIP AND ADVOCACY COMMISSION
                      4500 College Avenue, #100
                      Alton, IL 62002
                      (618) 474-5503
                      (618) 474-5517 (facsimile)

                      Ira A. Burnim
                      Jennifer Mathis
                      BAZELON CENTER FOR MENTAL HEALTH LAW
                      1101 15th Street, NW, Suite 1212
                      Washington, DC 20005
                      (202) 467-5730
                      (202) 223-0409 (facsimile)

                      Neil Bradley
                      ACLU NATIONAL VOTING RIGHTS PROJECT
                      2725 Harris Tower
                      233 Peachtree Street NE
                      Atlanta, GA 30303
                      (404) 523-2721
                      (404) 653-0331 (facsimile)

                      Denise D. Lieberman, #47013
                      AMERICAN CIVIL LIBERTIES UNION
                             OF EASTERN MISSOURI
                      4557 Laclede Ave.
                      St. Louis, MO 63108
                      (314) 361-2111
                      (314) 361-3135 (facsimile)

                      Michael H. Finkelstein, #25468
                      David E. Hale, #54641
                      MISSOURI PROTECTION AND
                              ADVOCACY SERVICES
                      925 South Country Club Drive
                      Jefferson City, MO 65109
                      (573) 893-3333
                      (573) 893-4231 (facsimile)




                            19
Case 2:04-cv-04248-ODS Document 54 Filed 12/06/04 Page 19 of 19
